Case 2:03-cV-02147-.]DB-tmp Document 46 Filed 04/21/05 Page 1 of 2 Page|D 57

FIL._
IN THE UNITED STATES DISTRICT CoURT g
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 g DR 21 PH z d
WESTERN DIVISIoN ' "
ROBEHT R. D-E ` ‘”.' !O
JANICE P. wILLIAMs-COOKS errata u.s. or \;. sr.
and RoBERT B. CooK, JR., W'D- OF TN, MI=MPHISS
Plaintiffs,
v. No. o3-2147-B/P

NORTHWEST AIRLINES, INC., et al.,

Defendants .

 

ORDER OF REFERENCE

 

Before the court is Plaintiffs’ Motion to Continue FRCP Rule 16(b) Scheduling
Conference filed on April 14, 2005.

This matter is hereby referred to the United States Magistrate Judge for determination.
Any objections to the magistrate judge’s order shall be made within ten (10) days after service
of the order, setting forth particularly those portions of the order objected to and the reasons for
the objections Failure to timely assign as error a defect in the magistrate judge’s order will
constitute a waiver of that objection w Rule 72(a), Federal Rules of Civil Procedure.

. 61 .
IT rs So oRDERED mls lt day Apnl, 2005.

  
  

 

J. DANIEL BREEN \
l D STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:03-CV-02147 Was distributed by faX, mail, or direct printing on
April 22, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

